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                            Exhibit D
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2023 FOREIGN PROFIT CORPORATION REINSTATEMENT                         FILED
DOCUMENT# 840092                                                   Jan 19, 2023
Entity Name: STANDARD CHARTERED BANK PLC                        Secretary  of State
                                                                 9303367837CR
Current Principal Place of Business:
1 BASINGHALL AVENUE
LONDON, EC2V 5DD


Current Mailing Address:
1 BASINGHALL AVENUE
LONDON, EC2V 5DD GB

FEI Number: XX-XXXXXXX                                                                                                       Certificate of Status Desired: No
Name and Address of Current Registered Agent:
CORPORATION COMPANY OF MIAMI
200 SOUTH BISCAYNE BOULEVARD
 SUITE 4100
MIAMI, FL 33131 US

The above named entity submits this statement for the purpose of changing its registered office or registered agent, or both, in the State of Florida.

SIGNATURE: ALFRED G. SMITH                                                                                                                                                  01/19/2023
                           Electronic Signature of Registered Agent                                                                                                                Date

Officer/Director Detail :
Title                  CEO, AMERICAS                                                                   Title                  D
Name                   CRANWELL, STEVEN                                                                Name                   VINALS, JOSE
Address                1 BASINGHALL AVENUE                                                             Address                1 BASINGHALL AVENUE
City-State-Zip:        LONDON          EC2V 5DD                                                        City-State-Zip:        LONDON           EC2V 5DD

Title                  D                                                                               Title                  D
Name                   WINTERS, BILL                                                                   Name                   HALFORD, ANDY

Address                1 BASINGHALL AVENUE                                                             Address                1 BASINGHALL AVENUE

City-State-Zip:        LONDON          EC2V 5DD                                                        City-State-Zip:        LONDON           EC2V 5DD


Title                  D                                                                               Title                  D

Name                   HODGSON, CHRISTINE                                                              Name                   EVANS, GUY HUEY

Address                1 BASINGHALL AVENUE                                                             Address                1 BASINGHALL AVENUE

City-State-Zip:        LONDON          EC2V 5DD                                                        City-State-Zip:        LONDON           EC2V 5DD


Title                  D                                                                               Title                  D

Name                   HUNT, JACKIE                                                                    Name                   LAWTHER, ROBIN

Address                1 BASINGHALL AVENUE                                                             Address                1 BASINGHALL AVENUE

City-State-Zip:        LONDON          EC2V 5DD                                                        City-State-Zip:        LONDON           EC2V 5DD


                                                                                                       Continues on page 2



I hereby certify that the information indicated on this report or supplemental report is true and accurate and that my electronic signature shall have the same legal effect as if made under
oath; that I am an officer or director of the corporation or the receiver or trustee empowered to execute this report as required by Chapter 607, Florida Statutes; and that my name appears
above, or on an attachment with all other like empowered.

SIGNATURE: STEVEN CRANWELL                                                                                              CEO, AMERICAS                                       01/19/2023
                        Electronic Signature of Signing Officer/Director Detail                                                                                                   Date
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Officer/Director Detail Continued :
Title             D                        Title             D
Name              TANG, DAVID              Name              WHITBREAD, JASMINE
Address           1 BASINGHALL AVENUE      Address           1 BASINGHALL AVENUE
City-State-Zip:   LONDON    EC2V 5DD       City-State-Zip:   LONDON   EC2V 5DD

Title             D                        Title             D
Name              RIVETT, PHIL             Name              RAMOS, MARIA

Address           1 BASINGHALL AVENUE      Address           1 BASINGHALL AVENUE

City-State-Zip:   LONDON    EC2V 5DD       City-State-Zip:   LONDON   EC2V 5DD
